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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Northern District of California




                        Easton Stokes
                            Plaintiff(s)
                                                                )
                           v.                                   )       Civil Action No.   19-4613
    THE UNITED STATES DEPARTMENT OF                             )
  JUSTICE, WILLIAM BARR, individually and as                    )
  Attorney General of the United States, THE U.S.               )
BUREAU OF ALCOHOL, TOBACCO, FIREARMS                            )
AND EXPLOSIVES (ATF); REGINA LOMARDO                            )
  individually and as Acting Director of ATF; THE               )
    FEDERAL BUREAU OF INVESTIGATION;                            )
Christopher Wray individually and as Director of the            )
     Federal Bureau of Investigation; STATE OF                  )
 CALIFORNIA, XAVIER BECERRA, individually                       )
    and acting as Attorney General of the State of
 California, THE SONOMA COUNTY SHERIFF’S
    OFFICE, MARK ESSICK, individually and as
              Sheriff of Sonoma County,
                           Defendant(s)


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
     United States Department of Justice
     450 Golden Gate Avenue
     San Francisco, CA 94102



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
Timothy Kelly
1403 Spyglass Parkway
Vallejo, CA 94591
tskelliot@gmail.com
707-570-7507

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
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                                                                                 CLERK OF COURT


 Date:
                                                                                              Signature of Clerk or Deputy Clerk




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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

                I personally served the summons on the individual at (place)
                                                                                on (date)                               ; or

                I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

                I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                               ; or

                I returned the summons unexecuted because                                                                             ; or

                Other (specify):
                                                                                                                                              .


           My fees are $                           for travel and $                  for services, for a total of $                           .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title
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                                                             Server’s address

Additional information regarding attempted service, etc:
